977 F.2d 571
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert James CROUCH, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR;  West Virginia CoalWorkers' Pneumoconiosis Fund; Royal CoalCompany, Respondents.
    No. 91-2282.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 20, 1992Decided:  October 16, 1992
    
      On Petition for Review of an Order of the Benefits Review Board.  (89-1219-BLA)
      Robert James Crouch, Petitioner Pro Se.
      Michael John Denney, Dorothy L. Page, Lawrence W. Rogers, United States Department of Labor, Washington, D.C.;  Samuel Perry Cook, Office of the Attorney General of West Virginia, Charleston, West Virginia, for Respondents.
      Ben. Rev. Bd.
      Affirmed.
      Before MURNAGHAN, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Robert James Crouch seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. # 8E8E # 901-945 (West 1986 &amp; Supp. 1991).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Crouch v. Director, Office of Workers' Compensation Programs, No. 89-1219-BLA (B.R.B. Apr. 5, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    